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 3   Telephone: (916) 444-9845
 4   Attorneys for Defendant,
     JONATHAN AUSTIN
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No.: 2:11-CR-276 JAM
12               Plaintiff,                     STIPULATION AND ORDER
                                                CONTINUING JUDGMENT AND
13         vs.                                  SENTENCE AND REVISING
                                                SENTENCING SCHEDULE
14   JONATHAN AUSTIN,
15               Defendant.
16
17         The United States of America, through its counsel Assistant
18   United States Attorney Jason S. Hitt, and defendant Jonathan
19   Austin, through his counsel Clyde M. Blackmon, stipulate that
20   the date for imposition of judgment and sentence upon Mr. Austin
21   be continued to March 26, 2013, and that the sentencing schedule
22   pertaining to the preparation, objections to, and filing of the
23   Presentence Report in the matter be revised as follows.
24
       •   Judgment and Sentencing date: March 26, 2013 at 9:45 a.m.
25
       •   Reply, or Statement of Non-Opposition: March 19, 2013
26
       •   Motion for Correction of the Presentence Report shall be
27         filed with the Court and served on the Probation Officer
28


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                  STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
      Case 2:11-cr-00276-JAM Document 73 Filed 02/13/13 Page 2 of 3


 1         and opposing counsel no later than:         March 12, 2013
 2     •   The Presentence Report shall be filed with the Court and
 3         disclosed to counsel no later than: March 5, 2013
 4     •   Counsel’s written objections to the Presentence Report
 5         shall be delivered the Probation Officer and opposing
 6         counsel no later than: February 26, 2013
 7         It is necessary to continue the date for imposition of
 8   judgment and sentence and to revise the sentencing schedule
 9   because Mr. Blackmon has fallen ill and will not be able to
10   complete his review of the report and timely comply with the
11   previous sentencing schedule in the preparation of his written
12   objections.
13         United States Probation Officer Lynda M. Moore has been
14   advised of the necessity to continue the sentencing date and
15   revision of the sentencing schedule; she has no objection to the
16   granting of the proposed order.
17         Therefore, the parties request that the imposition of
18   judgment and sentence in this matter, currently set for March
19   12, 2013, be continued to 9:45 a.m. on March 26, 2013.
20         IT IS SO STIPULATED.
21   DATED:   February 12, 2013          By: //s// Clyde M. Blackmon for
                                                 JASON HITT
22                                               Assistant U.S. Attorney
23
24                                       ROTHSCHILD WISHEK & SANDS LLP
25   DATED:    February 12, 2013         By: _//s// Clyde M. Blackmon___
26                                               CLYDE M. BLACKMON
                                                 Attorneys for Defendant
27                                               JONATHAN AUSTIN
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                   STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
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 1                                     ORDER
 2         GOOD CAUSE APPEARING upon the stipulation of the parties
 3   the imposition of judgment and sentence in this matter presently
 4   scheduled for March 12, 2013, is continued to March 26, 2013, at
 5   9:45 a.m., and the sentencing schedule is revised as follows.
 6     •   Judgment and Sentencing date: March 26, 2013 at 9:45 a.m.
 7     •   Reply, or Statement of Non-Opposition: March 19, 2013
 8     •   Motion for Correction of the Presentence Report shall be
 9         filed with the Court and served on the Probation Officer
10         and opposing counsel no later than:       March 12, 2013
11     •   The Presentence Report shall be filed with the Court and
12         disclosed to counsel no later than: March 5, 2013
13     •   Counsel’s written objections to the Presentence Report
14         shall be delivered the Probation Officer and opposing
15         counsel no later than: February 26, 2013
16   IT IS SO ORDERED.
17   Dated:   2/12/2013                /s/ John A. Mendez________________
                                       JOHN A. MENDEZ
18                                     United States District Court Judge
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                 STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
